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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 23-cr-00235-GKF
ORDER OF TEMPORARY
Arthur Edward Suarez, DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT
Defendant(s).

Upon motion of the United States of America, it is ORDERED that a detention

hearing/preliminary hearing is:

Set on: \l } \\ \( WU
At: Aw am(p.ni)

VF

Before Magistrate Judge:
LJ Jodi F. Jayne
YX Christine D. Little
CL] Susan Huntsman

_] Mark T. Steele

The detention hearing will be held:
Magistrate Courtroom #1 on the 3™ floor of the United States Courthouse, 333
West Fourth Street, Tulsa, OK, 74103.
Magistrate Courtroom #5 on the 4"" floor of the United States Courthouse, 333
West Fourth Street, Tulsa, OK, 74103
Pending this hearing, Defendant shall be held in custody by the United States Marshal. The United

States Marshal shall produce Defendant at the above-described hearing.

Date: October 9, 2024 (Oy,

Christine D. Little, U.S. Magistrate Judge

IA Arraignment Indictment Detention (12/2021)
